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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
  UNITED STATES, et al.,                        )
                                                )
                         Plaintiffs,            )
         v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                                )
  GOOGLE LLC,                                   )
                                                )
                         Defendant.             )

                 PLAINTIFFS’ MOTION FOR LEAVE TO FILE UNDER SEAL


         Pursuant to Local Civil Rule 5(C) and the Protective Order (Dkt. 203), Plaintiffs

  respectfully move this Court to seal portions of Plaintiffs’ Opposition to Defendant’s Motion for

  Summary Judgment, as well as certain exhibits attached to the motion. The information that is

  redacted or filed fully under seal either (1) was marked Confidential or Highly Confidential by

  Defendant Google or by third parties, or (2) concerns sensitive information of Federal Agency

  Advertisers that is not normally available to the public.

         Consistent with the local rules and this Court’s Electronic Case Filing Policies and

  Procedures, undersigned counsel have filed the materials at issue using the sealed filing event on

  CM/ECF and hereby certify that they will serve a copy on opposing counsel and deliver a copy

  to this Court in a separate container labeled “UNDER SEAL.” The grounds for this motion are

  set forth in the accompanying memorandum of law. A proposed order is attached for the Court’s

  convenience.




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  Dated: May 17, 2024

  Respectfully submitted,

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